Case 20-20425-GLT      Doc 16    Filed 02/05/20 Entered 02/05/20 16:12:35   Desc Main
                                 Document     Page 1 of 6


                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:

VIDEOMINING CORPORATION,                             Bankruptcy No. 20-20425-GLT

             Debtor.                                 Chapter 11

VIDEOMINING CORPORATION,                             Document No.

             Movant,

      vs.

ENTERPRISE BANK, WHITE OAK
BUSINESS CAPITAL, INC., ON DECK
CAPITAL, ITRIA VENTURES, LLC,
BROADWAY ADVANCE FUNDING,
GREEN NOTE CAPITAL PARTNERS, INC.,
AND THE HERSHEY COMPANY.

             Respondents.

         EMERGENCY MOTION TO RELEASE RECEIVABLES AND PROHIBIT
              INTERFERENCE WITH THE DEBTOR’S CUSTOMERS

      AND NOW comes VideoMining Corporation, by and through its Counsel, Robert

O Lampl, John P. Lacher, David L. Fuchs, Ryan J. Cooney and Sy O. Lampl and files

this EMERGENCY MOTION TO RELEASE RECEIVABLES                        AND PROHIBIT

INTERFERENCE WITH THE DEBTOR’S CUSTOMERS:

      1.     The Movant is VideoMining Corporation (“VideoMining” or “Debtor”).

      2.     This Case was commenced on February 4, 2020.

      3.     The Debtor collects video data from grocery and convenient stores

regarding shoppers’ in store behavior, analyzes said data, and then packages and sells

the same to product retailers.
Case 20-20425-GLT      Doc 16    Filed 02/05/20 Entered 02/05/20 16:12:35          Desc Main
                                 Document     Page 2 of 6


       4.     White Oak Business Capital, Inc. (“White Oak”) is a secured creditor in

this Estate and holds a first lien security interest in the Debtor’s accounts receivable.

White Oak holds a second lien security interest in all of the Debtor’s other assets. White

Oak has a claim in the approximate amount of $1,365,000. Affiliates of the Debtor are

also obligated on the indebtedness to White Oak.

       5.     Enterprise Bank (“Enterprise”) is also a secured creditor in this Estate and

holds a first position security interest in all assets of the Debtor with the exception of the

Debtor’s accounts receivable. Enterprise has subordinated its interest in the Debtor’s

accounts receivable to White Oak. Thus, with respect to the Debtor’s pre-petition

accounts receivable, White Oak is in the first position and Enterprise is in the second

petition. Enterprise has a claim in the approximate amount of $607,000. Affiliates of the

Debtor are also obligated on the indebtedness to Enterprise.

       6.     On Deck Capital, Itria Ventures, LLC, Broadway Advance Funding and

Green Note Capital Partners, Inc. all purport to hold junior blanket liens on the Debtor’s

assets.

       7.     The Hershey Company is a customer of the Debtor who has an

outstanding invoice with the Debtor.

       8.     The Hershey Company has been contacted by Green Note Capital

Partners, Inc. and Itria Ventures, LLC and told to withhold all payments to the Debtor

based upon claims that they are owed money by the Debtor.

       9.     As a result of these contacts, the Hershey Company has not remitted

payment on the outstanding invoice and will not do so until this matter is resolved.
Case 20-20425-GLT     Doc 16    Filed 02/05/20 Entered 02/05/20 16:12:35       Desc Main
                                Document     Page 3 of 6


      10.    The actions by Green Note Capital Partners, Inc. and Itria Ventures, LLC

have resulted in significant financial distress to the Debtor and have impaired the rights

of White Oak and Enterprise who have a superior interest in the receivable due from the

Hershey Company.

      WHEREFORE, the Movant respectfully requests that this Honorable Court enter

an order that (1) directs Green Note Capital Partners, Inc. and Itria Ventures, LLC to

cease all interference with customers of the Debtor and (2) that authorizes the Hershey

Company to release all funds owed to the Debtor directly to the Debtor.



                                                Respectfully Submitted,

Date: February 5, 2020                          /s/ Robert O Lampl
                                                ROBERT O LAMPL
                                                PA I.D. #19809
                                                JOHN P. LACHER
                                                PA I.D. #62297
                                                DAVID L. FUCHS
                                                PA I.D. #205694
                                                RYAN J. COONEY
                                                PA I.D. #319213
                                                SY O. LAMPL
                                                PA I.D. #324741
                                                223 Fourth Avenue, 4th Fl.
                                                Pittsburgh, PA 15222
                                                (412) 392-0330 (phone)
                                                (412) 392-0335 (facsimile)
                                                Email: rlampl@lampllaw.com
Case 20-20425-GLT         Doc 16     Filed 02/05/20 Entered 02/05/20 16:12:35    Desc Main
                                     Document     Page 4 of 6


                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:

VIDEOMINING CORPORATION,                                 Bankruptcy No. 20-20425-GLT

                Debtor.                                  Chapter 11

VIDEOMINING CORPORATION,                                 Document No.

                Movant,

       vs.

ENTERPRISE BANK, WHITE OAK
BUSINESS CAPITAL, INC., ON DECK
CAPITAL, ITRIA VENTURES, LLC,
BROADWAY ADVANCE FUNDING,
GREEN NOTE CAPITAL PARTNERS, INC.,
AND THE HERSHEY COMPANY.

                Respondents.

                                 CERTIFICATE OF SERVICE

       I, Robert O Lampl, hereby certify, that on the 5th day of February, 2020, a true

and   correct    copy     of   the   foregoing   EMERGENCY     MOTION    TO     RELEASE

RECEIVABLES         AND        PROHIBIT     INTERFERENCE       WITH    THE      DEBTOR’S

CUSTOMERS was served upon the following (via electronic service, hand delivery

and/or Frist-Class U.S. Mail):

Office of the U.S. Trustee
970 Liberty Center
1001 Liberty Avenue
Pittsburgh, PA 15222
Norma.hildenbrand@usdoj.gov
Case 20-20425-GLT     Doc 16   Filed 02/05/20 Entered 02/05/20 16:12:35   Desc Main
                               Document     Page 5 of 6


Enterprise Bank
c/o William E. Kelleher
Cohen & Grigsby, P.C.
625 Liberty Avenue
Pittsburgh, PA 15222
wkelleher@cohenlaw.com

White Oak Business Capital, Inc.
c/o George Snyder
125 First Ave.
Pittsburgh, PA 15222
gsnyder@stonecipherlaw.com

On Deck Capital
c/o Federated Law Group, PLLC
887 Donald Ross Rd.
Juno Beach, FL 33408

Itria Ventures, LLC
One Penn Plaza, Suite 4530
New York, NY 10119

Broadway Advance Funding
39 Broadway, Suite 930
New York, NY 1006

Green Note Capital Partners, Inc.
c/o Berkovitch and Bouskila, P.C.
80 Broad Street, Suite 3303
New York, NY 1004

The Hershey Company
c/o Cheryl Zak Lardieri
Perkins Coie LLP
700 Thirteenth Street, N.W. Suite 600
Washington, DC 20005-3960
Case 20-20425-GLT   Doc 16   Filed 02/05/20 Entered 02/05/20 16:12:35   Desc Main
                             Document     Page 6 of 6


Date: February 5, 2020                     /s/ Robert O Lampl
                                           ROBERT O LAMPL
                                           PA I.D. #19809
                                           JOHN P. LACHER
                                           PA I.D. #62297
                                           DAVID L. FUCHS
                                           PA I.D. #205694
                                           RYAN J. COONEY
                                           PA I.D. #319213
                                           SY O. LAMPL
                                           PA I.D. #324741
                                           223 Fourth Avenue, 4th Fl.
                                           Pittsburgh, PA 15222
                                           (412) 392-0330 (phone)
                                           (412) 392-0335 (facsimile)
                                           Email: rlampl@lampllaw.com
